                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF WISCONSIN

JOSEPH GILL,                                                 )
                                                             )
                                                             )
       Plaintiff,                                            )       Case No.
                                                             )
       v.                                                    )       Judge
                                                             )
CITY OF MILWAUKEE, Milwaukee Police Chief                    )
EDWARD FLYNN, Milwaukee Police Assistant Chief               )
EDITH HUDSON, Milwaukee Police Sergeant                      )
JASON MUCHA, and Milwaukee Police Officers                   )
MICHAEL VAGNINI, JACOB KNIGHT, LOUIS                         )
KOPESKY, BRIAN KOZELEK,                                      )
AMY BARTOL, STEPHANIE SEITZ,                                 )
and any other Milwaukee                                      )
Police Officers and Employees yet to be named,               )
                                                             )
                                                             )
       Defendants.                                           )       Jury Demand


                                          COMPLAINT

       Plaintiff JOSEPH GILL, by his attorneys, THE SHELLOW GROUP and ROHDE

DALES LLP, for his complaint against Defendants CITY OF MILWAUKEE, Milwaukee Police

Chief EDWARD FLYNN, Milwaukee Police Assistant Chief EDITH HUDSON, Milwaukee

Police Sergeant JASON MUCHA, and Milwaukee Police Officers MICHAEL VAGNINI,

JACOB KNIGHT, LOUIS KOPESKY, BRIAN KOZELEK, AMY BARTOL, STEPHANIE

SEITZ, and any other Milwaukee Police Officers and Employees yet to be named, state:

                                     Jurisdiction and Venue

       1.      This action is brought pursuant to 42 U.S.C. § 1983 to redress the deprivation

under color of law of Plaintiff’s rights as secured by the United States Constitution.

       2.      This Court has jurisdiction over federal claims pursuant to 28 U.S.C. § 1331 and

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state law claims pursuant to 28 U.S.C. § 1367.

       3.      Venue is proper under 28 U.S.C. § 1391(b). Defendant City of Milwaukee is a

municipal corporation located within this judicial district. Additionally, the events giving rise to

the claims asserted herein occurred within this judicial district.

                                               Parties

       4.      Plaintiff Joseph Gill is an African-American resident of the State of Wisconsin

and the City of Milwaukee.

       5.      Defendant City of Milwaukee is a Wisconsin municipal corporation and is or was

the employer of the individual police officer defendants and is required to pay any tort judgment

for damages for which its employees are liable for acts within the scope of their employment.

Defendant City of Milwaukee is additionally responsible for the policies, practices, and customs

of the Milwaukee Police Department.

       6.      Defendant Edward Flynn is and was at all times relevant to this action, the Chief

of the Milwaukee Police Department, acting under color of law and within the scope of his

employment. Defendant Flynn is being sued in his individual and official capacity.

       7.      Defendant Edith Hudson is an Assistant Chief of Police of the Milwaukee Police

Department, and was at all times relevant to this action, the Captain of Milwaukee Police District

5, acting under color of law and within the scope of her employment. Defendant Hudson is

being sued in her individual capacity.

       8.      At all times relevant to his action, Defendant Jason Mucha was a sergeant in

Milwaukee Police District 5 assigned to the proactive power shift unit, who acted under color of

law and within the scope of his employment. He is being sued in his individual capacity.

       9.      At all times relevant to this action, Defendants Michael Vagnini, Jacob Knight,



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Louis Kopesky, Brian Kozelek, Amy Bartol, and Stephanie Seitz were employed as police

officers in the Milwaukee Police Department. Each of these Defendants is sued in his or her

individual capacity.

                        September 2011 Stop and Search of Joseph Gill

       10.      On or around September 24, 2011, Joseph Gill was driving an automobile in an

area of Milwaukee near the intersection of 25th Street and Hampton Street when his automobile

was stopped by Defendants Michael Vagnini, Jacob Knight, Louis Kopesky, Brian Kozelek,

Amy Bartol, Stephanie Seitz, and several other as-of-yet unidentified Milwaukee police officers.

       11.      Defendants Vagnini and the other officers had no reasonable suspicion or

probable cause to believe that Joseph Gill had committed, was committing, or was going to

commit any offense when they stopped him.

       12.      Defendant Vagnini ordered Joseph Gill to get out of his automobile.

       13.      Defendant Vagnini, who had no reasonable suspicion or probable cause to believe

that Joseph Gill possessed contraband on or about his person, then, in a public thoroughfare, with

no privacy, reached his hand inside the back of Joseph Gill’s shorts and underwear, slid his hand

between Joseph Gill’s bare buttocks and penetrated Joseph Gill’s rectum with his finger.

       14.      Defendants Jacob Knight, Louis Kopesky, Brian Kozelek, Amy Bartol, and

Stephanie Seitz, who were well aware of Defendant Vagnini’s modus operandi, pattern, and

practice of conducting such invasive and unreasonable searches on African American men, stood

by, watching, and took no action to intervene and prevent or stop Defendant Vagnini’s invasive

and unreasonable search of Joseph Gill, even though they had the duty, ability, and opportunity

to do so.

       15.      Joseph Gill did not consent to Defendant Vagnini’s invasive and unreasonable



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search.

          16.       Defendant Vagnini did not have a warrant to conduct the search, and did not

have authorization from a Captain of police.

          17.      Defendant Vagnini is not a health care professional, and he conducted the

invasive and unreasonable search in an unsafe, unhygienic, and intentionally humiliating fashion.

          18.      Defendants Vagnini, Jacob Knight, Louis Kopesky, Brian Kozelek, Amy Bartol,

and Stephanie Seitz made out false and incomplete official reports and gave a false and

incomplete version of the events to their superiors and prosecutors in order to cover up their

misconduct.

                 Facts Related to the City of Milwaukee and Its Police Department’s
                          Unconstitutional Policies, Practices, and Customs

          19.      Milwaukee Police District 5 is located in a community that is approximately 90%

African American.

          20.      During the time period of 2008 to 2012, a small group of police officers within

District 5 were assigned to a proactive unit on the Power Shift whose mission was to heighten its

presence in, and concentrate on, “high-crime” neighborhoods.

          21.      The unit utilized a policing technique that was known in the community as “the

train” because the District 5 officers would patrol the predominantly African American “high

crime” areas of the District in a line of several police cars, and would accelerate the number of

traffic stops, field interviews, arrests for minor offenses, and consequently, searches, in those

areas.

          22.      This “proactive policing,” which encouraged and rewarded high volume traffic

stops, field interviews, searches and arrests in the African-American “high crime” neighborhoods

of District 5, as well as the Unit itself, was part of a conscious policy of the MPD and its police

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Chief Edward Flynn that was known as CompStat.

       23.      The District 5 proactive Power Shift Unit, whose hours were 7 p.m. to 3 a.m., was

supervised by Defendant Sergeant Jason Mucha, and included among its members: MPD officers

Michael Vagnini, Jacob Knight, Paul Martinez, Shawn Burger, Brian Burch, Paul Vento, Daniel

Vandervest, William Fely, Jeffrey Cline, Lori Kowalefski and Joseph Szcyubialka.

       24.      No African-American officers were assigned to the proactive Power Shift Unit.

       25.      Defendant Vagnini would typically ride in the lead car of the train, and was

considered the de facto leader of the Unit.

       26.      Defendant Mucha often rode in the back of the “train.”

       27.      The conscious purpose of the “train,” according to its creator, MPD Captain

Glenn Frankovis, and adopted by Sergeant Mucha, was to make the lives of “thugs” “miserable,”

while the Unit itself was a tool of CompStat.

                     Pattern of Illegal Searches by Vagnini and His Power Shift Unit

       28.      From 2007 to March of 2012, Defendant Vagnini and his fellow District 5

officers, particularly those on the Power Shift Unit, were involved in a pattern of conducting

illegal strip and body cavity searches that total at least 70 incidents from the fall of 2007 to

March of 2012.

       29.      The first documented instance of Vagnini conducting an illegal body cavity

search occurred on October 9, 2007, when he and another officer made a traffic stop which

resulted in the arrest of D.E.

       30.      District 5 Sergeant Gregory Flores conducted an administrative review related to

Vagnini’s use of force during the arrest of D.E.

       31.      As part of the administrative review, Sergeant Flores interviewed Vagnini and



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D.E. concerning the incident.

       32.      Vagnini told Flores that during his pat down search of D.E. he “felt a bump in

between [D.E.’s] legs,” and D.E. told Sergeant Flores that Vagnini “was digging in my ass.”

       33.      Lieutenant Kurt Leibold and Acting Deputy Chief Edward Liebrecht reviewed the

reports concerning Vagnini’s search of D.E.

       34.      Lieutenant Liebold, who was acting Captain of District 5 at the time, and later

became an Assistant Chief, did not open an administrative or criminal investigation into

Vagnini’s search of D.E.

       35.      From June of 2008 through February of 2010, in addition to the illegal searches of

the Plaintiffs as set forth above, Defendant Vagnini conducted, inter alia, the following known

illegal strip and body cavity searches on African-American men that he and his fellow Unit

officers had stopped. Each time, Vagnini was accompanied by other members of the power

shift’s proactive Unit:

                         April 21, 2008             Joe Bohannon
                         June 13, 2008              Carlando Mukes
                         April 21, 2009             Chaze Biami
                         July 31, 2009              Chavies Hoskin
                         December 3, 2009           C.M. and J.B.
                         December 31, 2009          Calvin Howard
                         January 12, 2010           Calvin Howard
                         February 17, 2010          J.A.E.

       36.      On March 5, 2010, L.L.R., an African-American male, filed a complaint with the

MPD against Vagnini, asserting that Vagnini subjected him to an illegal body cavity search.

       37.      L.L.R. alleged that on February 27, 2010, he was pulled over by Vagnini, that

Vagnini placed him in a chokehold, put his hand inside L.L.R.’s pants between the cheeks of his

buttocks, probed around the area of his anus, causing bleeding, and removed a plastic bag

containing crack cocaine.

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       38.      The MPD’s Professional Performance Division (PPD) conducted a criminal

investigation into L.L.R.’s complaint and in December of 2010 classified it as “unsubstantiated.”

       39.      From April of 2010 through March of 2011, in addition to the illegal searches of

the Plaintiffs as set forth above, Vagnini conducted illegal strip and/or body cavity searches,

inter alia, on the following African-American men whom the proactive Power Shift Unit had

stopped:

                      April 30, 2010                W.N.
                      June 5, 2010                  Jimar Williams
                      July 24, 2010                 W.C.
                      August 3, 2010                Rico Williams
                      November 5, 2010              A.H., R.R. and Chris Barbosa
                      Nov. or Dec. 2010             W.C.
                      February 2011                 S.J.
                      March 3, 2011                 C.J.

       40.      On March 9, 2011, M.T. made a citizen complaint against Defendant Vagnini,

alleging that Vagnini subjected him to an illegal body cavity search.

       41.      M.T. alleged that on March 8, 2011, he was a passenger in a vehicle that was

stopped by Defendants Vagnini and Mucha.

       42.      M.T. alleged that Vagnini put his hand inside his underwear from behind and ran

his hand upwards between his butt cheeks and placed a finger into M.T.’s anal cavity.

       43.      The MPD conducted a criminal investigation into M.T.’s complaint, determined

that there was probable cause to charge Vagnini with a crime, and presented the case to the

Milwaukee County District Attorney’s Office for consideration of possible prosecution.

       44.      From April of 2011 through February of 2012, in addition to the illegal searches

of the Plaintiff as set forth above, Vagnini conducted, inter alia, the following allegedly illegal

strip and body cavity searches on African-American men that he and his fellow Unit officers had

stopped:

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                      April 11, 2011                B.C.
                      April 21, 2011                Michael Teague
                      May 9, 2011                   M.T.W.
                      May 20, 2011                  K.J.B.
                      May 20, 2011                  D.B. and T.D.
                      June 1, 2011                  F.P.
                      July 7, 2011                  S.D.W. and Q.C.
                      July 7, 2011                  C.J.
                      July 9, 2011                  Chaze Biami
                      July 29, 2011                 S.D.W.
                      July 29, 2011                 R.E.P.
                      August 11, 2011               B.S.
                      August 18, 2011               S.D.W.
                      September 3, 2011             D.P.
                      September 30, 2011            D.B.
                      November 6, 2011              A.P. and J.E.
                      December 2011                 X.H.
                      December 15, 2011             M.W.
                      December 16, 2011             Kevin Freeman
                      December 30, 2011             Devonte Guercy and M.C.
                      January 28, 2012              A.W.

       45.      On January 31, 2012, B.C. and R.M. made citizen complaints to the Fire and

Police Commission (FPC) against Vagnini, alleging illegal body cavity searches.

       46.      FPC Executive Director Michael Tobin referred the complaints to the Special

Investigations Section (SIS) of the MPD’s Professional Performance Division (PPD), which

opened criminal investigations.

       47.      MPD Lieutenant David Salazar, who was in charge of the criminal investigations,

recognized that there was a pattern of illegal searches after he received these complaints.

       48.      Defendant Vagnini received a total of at least 47 citizen complaints alleging that

he conducted illegal body cavity and/or strip searches. All of Vagnini’s victims were African

American.

                         John Doe Investigation and Stripping of Police Powers

       49.      On March 2, 2012, Defendant Vagnini was informed by SIS Lieutenant Salazar of

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the MPD’s PPD that he was under criminal investigation for illegal strip searches and sexual

assaults, and that he was not to discuss the investigation.

       50.       Milwaukee Police Officer Jacob Knight was similarly informed.

       51.       Shortly thereafter, the Milwaukee County District Attorney’s Office initiated a

secret John Doe proceeding to investigate allegations of illegal body cavity and strip searches.

       52.       On March 20, 2012, Defendant Vagnini, Sergeant Mucha, Officer Knight, Officer

Kopesky, Officer Cline, and Officer Zachary Thoms, were stripped of their police powers, with

pay, and reassigned. Officer Dollhopf and Unit officer Kozelek were stripped of their police

powers two months later.

       53.       On March 21, 2012, Milwaukee Police Chief Edward Flynn held a press

conference where he acknowledged that the MPD had received complaints of illegal strip and

body cavity searches “a couple of years ago,” but did not begin an investigation into the

complaints because it “did not pick up a pattern,” a pattern that Flynn has now admitted existed.

       54.       In the ensuing days, Vagnini, Mucha, and some of the other suspended officers

met on several occasions, including on March 28, 2012, when they met in a park and, in

violation of a direct order from Chief Flynn, discussed several of the cases that were under

investigation.

       55.       At this time Sergeant Mucha suspected that Unit officer Thoms might be

cooperating with the investigation, as did Vagnini.

       56.       On April 3, 2012, District 5 Sergeants Mucha and Zieger were informed that

Vagnini was very drunk, and acting irrationally at a local bar.

       57.       Mucha requested that several Unit officers, including Thoms and Paul Martinez,

find Vagnini.



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       58.     That very morning, Thoms had agreed to cooperate with the investigation in

exchange for immunity from prosecution.

       59.     During this time, Vagnini fought with his fellow officers, called Thoms a

“snitch,” and punched both Thoms and Martinez.

       60.     That night Vagnini sent a cell phone text to Thoms in which he called him a

“snitch motherfucker.”

       61.     Shortly thereafter, a bullet was anonymously placed in Thoms’ police locker.

       62.     No officer reported Vagnini or any of the Unit members for any of the more than

60 alleged illegal strip and cavity searches, and the conspiratorial meetings were of concern to

Lt. Salazar, who was in charge of the criminal investigation, because the officers could have

been getting their stories together.

                  Prosecution and Conviction of Vagnini, Knight, Dollhopf, and Kozelek

       63.     On October 8, 2012, after the John Doe investigation concluded, Vagnini, Knight,

Dollhopf, and fellow Unit officer Kozelek were charged with multiple felonies and

misdemeanors related to illegal body cavity and strip searches.

       64.     In April of 2013, Defendant Vagnini pleaded no contest to four felony charges of

misconduct in public office and four misdemeanor charges of conducting illegal strip searches on

L.L.R., S.D.W., D.B., and W.C., was found guilty of these charges, and was sentenced to 26

months in prison and 34 months of extended supervision.

       65.     In July of 2013, Officer Knight pleaded no contest to one misdemeanor count of

being party to the crime of Vagnini’s illegal strip search of D.B. and was sentenced to 20 days in

the House of Corrections, ordered to pay a $300 fine, and complete 60 hours of community

service.



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       66.     In October of 2013, Officer Dollhopf and Officer Kozelek both pleaded no

contest to one misdemeanor disorderly conduct charge of being a party to Vagnini’s crime of

illegal strip search, Dollhopf was sentenced to 100 hours of community service and ordered to

pay a $300 fine, and Kozelek was sentenced to 20 hours of community service and ordered to

pay a $300 fine.

       67.     At his sentencing, Vagnini, through his lawyer, made numerous admissions,

including that Vagnini “accepts it was wrong. He violated the rights. He deserves to be

punished.”

               Defendant Mucha and Vagnini’s Disciplinary and Psychological Histories

       68.     Jason Mucha was hired by the MPD in 1996 as a police aide with a bare bones

application and no psychological screening.

       69.     As a police aide, Mucha received a one day suspension for underage drinking.

       70.     Mucha was promoted from police aide to police officer in early 2000 with no

additional application process or psychological screening.

       71.     Several months later, while he was in the training academy, Mucha was stopped

by police while he was off-duty and charged with having an open vodka bottle by his feet in his

car.

       72.     Mucha was found guilty by a judge, was ordered to pay a fine, and was given a

three-day suspension by the police department.

       73.     At a deposition, Mucha claimed that the officer who stopped him lied about where

she found the bottle.

       74.     Between 2000 and 2004, Mucha was involved in at least 27 incidents of alleged

excessive force, theft, and planting of drugs.



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       75.     The vast majority of these incidents arose in 2003 and 2004 while Officer Mucha

was working at District 3 as a member of a proactive Unit, which, according to former MPD

Chief of Police Nannette Hegerty, was disbanded in early 2004 due to “problems” with citizens’

complaints, though, according to Mucha, the name was changed and the Unit continued to

function in the same manner.

       76.     Mucha was not disciplined for any of these incidents, but rather was promoted to

Sergeant in 2005 with Chief Hegerty’s blessing.

       77.     In August of 2005, a Milwaukee County Circuit Court Judge ruled that several

persons who had accused Mucha of using excessive force and/or planting drugs could testify in a

criminal case where the defendant made similar accusations against Mucha.

       78.     In March of 2006, the Wisconsin Court of Appeals decided that another criminal

defendant could use evidence of Mucha’s previous disciplinary history at his re-trial.

       79.     The MPD conducted investigations, both criminal and administrative, in each of

the 27 cases and cleared Mucha, both criminally and administratively, in each and every case,

including in all of the 10 complaints set forth in the court cases.

       80.     In January of 2008, Mucha went to the website of one of the lawyers who

represented one of his alleged victims and wrote an anonymous email addressed to

“goodjobfuckingasshole.”

       81.     In a follow-up email he called the lawyer an “ambulance chaser,” called his

accusers “thugs,” and ridiculed the lawyer’s representation of the accusers.

       82.     After the MPD charged him administratively with being discourteous, Mucha

wrote a letter of explanation directly to Chief Flynn, in which he defended his conduct and

apologized only for the unfavorable publicity he brought on the MPD and himself.



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       83.     He asserted that he was under a great deal of stress due to all the previous

allegations, and that he had considered resigning from the force.

       84.     Nonetheless, Defendant Chief Flynn, who was aware of Mucha’s prior

disciplinary history, only issued a reprimand, did not remove Mucha as a supervisor of the

proactive Power Shift Unit at District 5, or order any specific re-training, counseling, or closer

monitoring.

       85.     As supervisor of the proactive Power Shift Unit, Defendant Mucha was in charge

of evaluating Defendant Vagnini and the rest of the Unit, whom he repeatedly praised, and also

of investigating use of force reports filed by his Unit, which he always found justified.

       86.     From 2008, when the proactive Power Shift Unit under Sergeant Mucha was

initiated by Lieutenant Michael Brunson and Captain Edith Hudson, until March 20, 2012, when

Mucha, Vagnini, and most of the entire Unit were stripped of their police powers, Mucha was

present for numerous illegal strip and body cavity searches by Vagnini and his Unit, as well as,

on at least two occasions, when force was used.

       87.     Mucha’s direct supervisors at District 5, including Lieutenant Brunson, Captain

Hudson, and Lieutenant McGillis, were aware of Mucha’s background, yet consistently gave him

glowing evaluations, lauding him for the number of stops and arrests his Unit made, and

Lieutenant McGillis even encouraged him to seek promotion to lieutenant during the very time

period when the illegal strip searches were taking place.

       88.     In July of 2012, Mucha applied for and received duty disability based on his claim

that newspaper publicity regarding his long history of misconduct complaints, starting in

September of 2007, left him paranoid, depressed, suicidal, and under extreme stress.

       89.     In his disability application, Mucha admitted that he had job-related mental-health



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issues since 2007, which included paranoia and extreme anger.

       90.     Mucha further admitted that, as a result of the mental trauma he had suffered, he

could not “pursue suspects, detain suspects or criminal defendants or determine whether

subordinates have pursued or apprehended properly, fight with or control prisoners because of

my inability to determine who is a criminal or prisoner or determine whether subordinates use

the appropriate amount of force.”

       91.     He further stated that he could not “respond to my fellow officers who need

assistance due to my inability to discern when they need help or when to use my firearm,” and

that he could not “investigate major crimes due to my inability to ascertain facts/details or

whether subordinates have conducted a thorough or proper investigation for prosecution.” He

further stated that he could not “interview witnesses, suspects, or subordinates and reduce to

writing facts because of my inability to reduce that which I don’t understand and [am] unable to

analyze the truth.”

       92.     Finally, he stated that:

               I can’t protect the Constitutional or civil rights of innocent persons due to my
               inability to focus through circumstances and variables that change minute to
               minute in policing. Supervision of those that are dedicated to protect our
               Constitutional Rights and Civil Rights is the cornerstone of public policing and
               not being able to supervise this function places too many people in harm’s way.
               Any amount of stress I have to endure [redacted] and my mind goes into a state of
               panic.

       93.     According to MPD Lieutenant Jackson, in October of 2012, Mucha told a

psychiatrist that he had thoughts of “suicide by cop” and dreamed of attending a department

command staff meeting with a rifle and shooting up the command staff until he was shot.

       94.     As a result of this statement, MPD Tactical Unit members placed Mucha into

Emergency Detention, and transported him to a Mental Health Complex where he was detained



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for several days.

       95.     Despite the fact that the MPD had several open administrative investigations

concerning Mucha’s supervisory conduct during the strip search/body cavity search cases, as

well as concerning whether he and his Unit members violated a direct order of the Chief of

Police by meeting and discussing the accusations against them, Mucha was placed on disability,

with the right to return to active duty sometime in the future if found competent.

       96.     Before Defendant Vagnini was hired by the MPD, he was a dispatcher with the

West Allis Police Department and lied about his residence to get the job.

       97.     While working for the West Allis Police Department, he had alcohol problems,

had drunken driving accidents, and sexually harassed and sexually assaulted a female West Allis

police officer by calling her highly derogatory names, by making unwanted advances, and by

grabbing her breast in the presence of several other West Allis police officers.

       98.     Despite the fact that there was a complete disciplinary file with numerous witness

statements documenting the sexual assault and harassment that was available to the MPD at the

time Vagnini applied to become a Milwaukee Police Officer in 2004, the MPD accepted

Vagnini’s false and incomplete recitation of the events, did no further investigation, and hired

him without Vagnini submitting to clinical interview conducted by a psychiatrist or psychologist.

       99.     As an MPD officer he was accused of being a racist, an alcoholic, and a

pathological liar.

       100.    In November of 2007, Vagnini made highly sexually-degrading comments to, and

in front of, a female correctional officer for which he was verbally counseled by an MPD police

sergeant.

       101.    In 2008, Alderman Joe Dudzik received a citizen complaint from a neighbor of



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Vagnini’s, which he passed on to MPD Assistant Chief Strunk with the admonition that “we

don’t want this to end up like Bayview.”

       102.    The complaint, from an anonymous neighbor, who feared retaliation, asserted that

Vagnini had numerous late night parties at which drunken MPD officers from his shift were

loud, set off illegal fireworks, and otherwise disturbed the peace. The neighbor further stated that

Vagnini was “an ok guy until he gets drunk, loud and cocky with his buddies.”

       103.    At some point while working on the District 5 proactive Power Shift Unit,

Vagnini punched one of his fellow officers, but neither one of them reported it.

       104.    From 2006 to 2011, Vagnini was one of the top six “repeaters” in the Milwaukee

Police Department with 13 citizen complaints of misconduct.

       105.    Because of the stress, Vagnini sought to be transferred to another assignment, but

his superior officers talked him out of seeking the transfer because of his success in

implementing the CompStat program through stops, searches, and arrests.

                                           Bleichwehl and Cline

       106.    In July of 2011, Bleichwehl and Cline participated in the arrest of Derek

Williams, who died in their custody after they deliberately ignored his repeated anguished cries

for medical assistance over a 15-minute period.

       107.    According to Bleichwehl, this incident and its publicly-aired aftermath, caused

him great stress that made him unable to properly protect prisoners, protect citizens’ civil and

constitutional rights, or write reliable reports or give accurate testimony.

       108.    Neither Bleichwel nor Cline were disciplined for their misconduct in the Derek

Williams case, and Bleichwehl was subsequently granted disability status.




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              MPD Command Staff’s Failure to Properly Discipline, Monitor, and Supervise

       109.    In June of 2006, Richard Jerome of the Police Assessment Resource Center issued

a report titled “Promoting Police Accountability in Milwaukee: Strengthening the Fire and Police

Commission,” which made the following findings:

                     “The FPC citizen complaint process is broken beyond repair.”

                      “The FPC complaint process is structurally flawed in ways that make it
               very difficult for a citizen to establish a claim of misconduct, even if meritorious.”

                    The results of the FPC citizen complaint process “are troubling, and
               demonstrate the FPC’s structural defects.”

                      Out of the 550 complaints filed from 1992 to 1999 with the FPC, only six
               cases resulted in sustained charges against only 8 MPD officers.

                     Out of the 437 complaints filed from 2000 to 2005 with the FPC, charges
               were sustained against only 2 MPD officers.

                      The PPD, which reviewed about 91% of citizens’ complaints as of 2005,
               sustained approximately 5%, whereas the typical sustained rate is about 10%.

                      There should be significant changes in the procedures for addressing
               citizen complaints against MPD officers, including an independent monitor.

                      “One of the goals of police oversight is to go beyond the review of
               individual citizen complaints to assess trends or patterns of police misconduct, as
               well as to address community concerns about police policies and practices.”

                      The FPC has failed to use its power and fulfill its responsibility to conduct
               policy reviews of the MPD.

                      “While the [FPC] has responsibility for policy review, it has not
               established a program of systematic monitoring or auditing of the MPD, analysis
               and study of MPD policies and procedures, or of trends in complaints or the MPD
               use of force.”

                      The FPC performed “[n]o audits of FPC citizen complaints, nor any audit
               or evaluation of complaints received and investigated by MPD.”

                       The FPC performed “[l]imited collection and analysis of MPD use of
               force information, or evaluation of MPD’s efforts to analyze its own use of force
               statistics.”

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                      The FPC performed “[n]o review of civil actions and tort claims relating
                 to MPD actions.”

                        It is central to the monitoring process to identify and address trends and
                 patterns in police behavior as well as issues that recur in the investigative process.

        110.     Fire and Police Commission (FPC) Executive Director Michael Tobin, who took

over in 2007, is a former MPD officer who previously worked at District 5, and a former

assistant City attorney.

        111.     In 2006, by Tobin’s own admission, the citizens’ complaint system was

ineffective and required improvement and modification; the community did not have confidence

in the complaint system.

        112.     Prior to 2008, the MPD failed to maintain a computer database of citizen

complaints against, or use of force by, MPD officers and the computer system still does not work

effectively.

        113.     FPC Executive Director Tobin was aware of Defendant Mucha’s background

since 2005.

        114.     Chief Hegerty was aware of Mucha and the problems of his Unit at District 3 as

early as 2004.

        115.     Despite this knowledge, Hegerty approved Mucha’s promotion to Sergeant in

2005.

        116.     In 2007, when the media publicly exposed Mucha’s excessive force and planting

of drugs cases, Chief Hegerty was quoted as saying that Mucha, who was then a Sergeant at

District 5, was doing a great job.

        117.     In the fall of 2007, Hegerty personally called and emailed Mucha and praised him

and his work.


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       118.    Defendant Chief Flynn was also aware of Mucha and his background in 2008

soon after he became Chief.

       119.    Defendant Edith Hudson, who was the Captain of District 5 from 2008 to 2011,

did not know how Mucha’s Unit operated, never went out with them on the street, did not know

how the Unit did pat down searches, and made no effort to find out.

       120.    Defendant Hudson was not concerned with the court rulings concerning Mucha’s

extensive bad acts so long as there were no sustained complaints, and she was unaware of any

complaints of strip searches while Captain, although L.L.R. made such a complaint in March of

2010, M.T. made one in early 2011, and MPD complaint records show that there were at least 12

complaints for illegal searches, including illegal strip searches, lodged against District 5 officers

from September of 2006 to August of 2011.

       121.    Defendant Brunson, who was Mucha and the Power Shift’s direct supervisor from

2008 to 2010, was also aware of Mucha’s background, and claimed to be monitoring him, but in

fact he almost never went out on the street with Mucha’s Unit, and gave it a great deal of

freedom.

       122.    Defendant Hudson frequently took Defendants Vagnini and Mucha to CompStat

meetings presided over by Defendant Flynn and attended by his command staff.

       123.    At these meetings, Vagnini was singled out for praise by the Chief, and the Unit’s

proactive policing methods were applauded and encouraged.

       124.    Since 2008, Mucha had, every six months, evaluated Vagnini’s performance,

praising him as an extraordinary officer who, with his fellow Unit officers, was responsible for

seizing large quantities of drugs and guns.

       125.    These evaluations were approved by Mucha’s supervising Lieutenants at District



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5, who also consistently praised and encouraged Mucha in their evaluations of him.

        126.    In the 62 strip/body cavity search complaints that were investigated by MPD’s

PPD, the only ones that were sustained were the ones that formed the basis for the charging and

convictions of Vagnini, Knight, Dollhopf, and Unit officer Kozelek.

        127.    After conviction, Vagnini, Knight, Dollhopf, and Kozelek resigned, so that they

would not be terminated, and other Unit participants who failed to intervene, to report

misconduct, or to obey a direct order, including Michael Gasser, Kopesky, Kuspa, Cline, and

Bleichwehl and Sergeants Mucha and Zieger, have not been disciplined by the MPD, and are

either still on the job or on disability.

        128.    The PPD initiated an investigation of Mucha’s supervision in 10 of the illegal

strip search cases, but no report or findings were made before Mucha went on disability in 2013,

nor has there subsequently been a determination.

        129.    A large number of the PPD strip and body cavity search complaints where

criminal charges were either refused or not sought, were referred to the IAS of the PPD for

consideration of whether internal discipline should be imposed by the MPD.

        130.    In each of the cases, Defendant Vagnini was the subject of the investigation for

the illegal strip and body cavity searches, together with numerous fellow Unit members who

were present at the searches, including those who are named as Defendants herein.

        131.    These fellow officers were subjects of the investigations for failing to intervene to

stop the searches and for failing to report the illegal searches to a supervisor.

        132.    From February through April of 2014, Deputy Inspector Michael Brunson, who

was formerly Vagnini and Mucha’s supervising lieutenant at District 5, approved the closing of

at least eleven of these cases without imposing discipline on any officers. The cases were closed



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with the designation “Member Resigned.”

       133.    With regard to the officers still on the force, the allegations against them were

closed because, in Brunson’s view, the IAD’s preponderance of the evidence standard was not

met—a standard which always requires that the victim have corroborative evidence.

       134.    Defendant Chief Flynn reviewed, discussed, and approved at least some of these

determinations.

       135.    With regard to Thoms, who admitted in his IAS interview to witnessing what he

now believed to be an illegal strip search by Vagnini, Brunson testified that Chief Flynn had

decided that Thoms should be exempt from discipline because of his immunity from criminal

prosecution.

       136.    The MPD has made no public report to the City Council about its investigations

into the strip-search scandal.

       137.    Chief Flynn approved multiple promotions of District 5 supervisors Brunson and

Hudson despite the strip search scandal at District 5.

       138.    The MPD’s Early Intervention System (EIP) was essentially non-functional

before 2008.

       139.    Subsequently, a computer tracking system was installed which would identify

problem officers.

       140.    However, the identification by the EIP was, by Defendant Flynn’s own admission,

highly restrictive as it was limited to officers who had a combination of one citizen complaint,

one squad car accident, and one use of force complaint within a 90-day period.

                         Training on Pat-Down, Strip- and Body-Cavity Searches

       141.    In March of 2012, Chief Flynn stated that the issue of conducting strip searches



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and body cavity searches was “a serious, serious, training issue.”

       142.    The President of the Milwaukee Police Association stated that the officers

involved in the illegal searches were failed by their supervisors because of a lack of training and

a lack of checks and balances.

       143.    The Officer Defendants received no training on when or under what conditions

they could conduct strip or body cavity searches.

       144.    Mucha and Knight have stated that they believed it was proper to put their hands

in a person’s pants during a pat down search if they felt an object that they suspected to be drugs.

       145.    Unit members Michael Gasser and Thoms have both stated that it was not unusual

for Defendant Vagnini to put his hands in a person’s pants, that they saw Vagnini do this, and

that they thought at the time that it was okay.

       146.    Knight testified that officers were not trained on strip and cavity searches, but

what they were doing on the street was pursuant to what he understood the MPD policies and

practices to be.

       147.    At his sentencing, Knight’s lawyer, speaking on his behalf and with his

authorization, made the following statements concerning a lack of proper training that Knight

later adopted at his deposition:

                The way Milwaukee police officers were trained either at the academy or once
       they got on the street, I don’t believe that what they thought was correct procedure was in
       fact correct procedure. And Jake Knight’s participation could have been the participation,
       I believe, of any officer on the department at the time it happened. . . It is amazing to me .
       . . that there was such a grave question amongst so many police officers of not knowing
       what can we do, what can we not do. . . There was a lack of education, of knowledge that
       I believe the general population of police officers had as to these particular issues.

       148.    This lack of proper training with regard to searches was echoed by at least two

other District 5 Officers, including Unit member Martinez, as well as an investigator, one of



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whom stated that Vagnini was created, trained and encouraged by the Milwaukee Police

Department.

       149.      Following the John Doe investigation, Defendant Flynn instituted department-

wide retraining on the MPD’s policies and practices for searches.

                                              Code of Silence

       150.      During the state criminal investigation into the 2004 beating and torture of Frank

Jude by MPD officers, former Milwaukee County District Attorney E. Michael McCann stated

that the MPD’s code of silence hampered the investigation, a frustration that was echoed by

Chief Hegerty.

       151.      In 2006, when MPD Officer Nicole Belmore broke the code of silence and

testified against her fellow officers who beat Jude, she was retaliated against by MPD officers

who called her a rat, vandalized her property, interfered with her radio communications, and

refused to provide her backup.

       152.      In the strip-search cases, no officer reported Defendant Vagnini or any of his

fellow officers for any of the more than 70 now-known illegal strip and cavity searches.

       153.      Thoms, who grudgingly cooperated with the investigation after being granted

immunity from prosecution, was called a “snitch motherfucker” by Vagnini who punched him

out, and a bullet was anonymously placed in Thoms’ police locker.

       154.      According to his lawyer, Thoms is now “seen as a rat” by his fellow officers, and

he “has no friends on the department.”

       155.      Vagnini and the other Unit officers met repeatedly and attempted to get their

stories together for their appearances at the John Doe investigation, and to discourage

cooperation at these meetings.



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       156.     Additionally, in their statements to the IAS, they all claimed to have not seen any

wrongdoing when accompanying Vagnini on his illegal searches.

       157.     According to Vagnini, he is “taking the weight” for his fellow officers, including

the Defendants named herein, and the MPD.

       158.     In 2013, several MPD officers, including Bleichwehl and Cline, refused to testify

during the inquest into the death of Derek Williams, who was in the custody of District 5 officers

when he died.

                                   Count I – 42 U.S.C. § 1983
                                Unreasonable Search and Seizure

       159.     Plaintiff repeats and realleges the foregoing paragraphs as if fully set forth herein.

       160.     As set forth in the foregoing paragraphs, the actions of Defendants Michael

Vagnini, Jacob Knight, Louis Kopesky, Brian Kozelek, Amy Bartol, and Stephanie Seitz,

individually, jointly, and/or in conspiracy, in illegally seizing and detaining Plaintiff without

reasonable suspicion or probable cause and illegally searching and physically abusing Plaintiff

violated Plaintiff’s Fourth Amendment rights to be free from unreasonable searches and seizures,

and caused Plaintiff to suffer, inter alia, physical pain, extreme mental distress, anguish,

humiliation, shame, and fear.

                                    Count II – 42 U.S.C. § 1983
                                       Failure to Intervene

       161.     Plaintiff repeats and realleges the foregoing paragraphs as if fully set forth herein.

       162.     As set forth in the foregoing paragraphs, Defendants Jacob Knight, Louis

Kopesky, Brian Kozelek, Amy Bartol, and Stephanie Seitz individually, jointly, and/or in

conspiracy, had the opportunity, duty, and ability to intervene on behalf of Plaintiff during

Defendant Vagnini’s invasive and unreasonable stop, detention, arrest, and search of Plaintiff,



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but failed to do so and thereby caused the injuries to Plaintiff as set forth above.

                                  Count III – 42 U.S.C. § 1983
                           Monell Policy, Pattern, and Practice Claim

          163.   Plaintiff repeats and re-alleges the foregoing paragraphs as if fully set forth

herein.

          164.   The actions of Defendants as alleged above were done pursuant to one or more

interrelated de facto policies, practices, and/or customs of the City of Milwaukee, its Police

Department, its Fire and Police Commission, its Internal Affairs Division, and/or its Police

Chief.

          165.   At all times material to this complaint, Defendant City of Milwaukee and its

Police Department, Fire and Police Commission, Professional Performance Division, Internal

Affairs Division and/or Police Chief had interrelated de facto policies, practices, and customs

which included, inter alia: (a) a widespread pattern and practice of illegally stopping, and/or

detaining, and/or arresting, and/or strip- and body-cavity searching African-American men; (b) a

failure to adequately hire, train, discipline, supervise, monitor, transfer, counsel, and control its

police officers, particularly those repeater officers, including, but not limited to, Vagnini, Mucha,

Bleichwehl, and Cline, who had histories of serious citizen abuse and/or serious mental-health

problems; (c) a police code of silence; and (d) the encouragement, as part of the MPD’s

CompStat program, of unreasonable, racially-discriminatory stops, searches and seizures, and

wrongful detainments and arrests.

          166.   The policy, practice, and custom of a police code of silence results in police

officers refusing to report instances of police misconduct of which they are aware, despite their

obligation to do so, and also includes police officers either remaining silent or giving false and

misleading information during official investigations in order to protect themselves or fellow

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officers from internal discipline, civil liability, or criminal charges, and to perjure themselves in

criminal cases where they and their fellow officers have falsely arrested and/or unreasonably

searched a criminal defendant.

       167.    The de facto policies, practices, and customs of failing to properly hire, train,

supervise, monitor, discipline, counsel, transfer, and control police officers, the code of silence,

and the encouragement of unreasonable searches and seizures and wrongful arrests are

interrelated and exacerbate the effects of each other to institutionalize police lying and immunize

police officers from discipline.

       168.    Before, during, and after the time of the incidents giving rise to this complaint,

officers of the Milwaukee Police Department, as a matter of widespread practice so prevalent as

to comprise municipal policy, abused citizens in a manner similar to that alleged by Plaintiffs in

this Complaint on a frequent basis, yet the Milwaukee Police Department made findings of

wrongdoing by officers in a disproportionately small number of cases.

       169.    Additionally, the involvement in, and ratification of, the unconstitutional actions

of the Defendants by municipal supervisors and policymakers, including Defendant Chief Flynn,

Defendant Assistant Chief Hudson, Deputy Inspector Brunson, Defendant Sergeant Mucha, and

former Chief Hegerty, further establishes that these acts were part of a widespread municipal

policy, practice and custom. This involvement and ratification is further demonstrated, inter alia,

by the Department’s failure for several years to investigate the unconstitutional conduct of the

Defendants and other officers or to discipline these officers, including, but not limited to

Defendants Vagnini and Mucha, in this and other similar cases of citizen abuse, for their

unconstitutional conduct.

       170.    The aforementioned policies, practices, and/or customs of failing to hire, train,



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supervise, monitor, discipline, counsel, transfer, and control police officers, the police code of

silence, and the encouragement and ratification of a racially-discriminatory pattern of

unreasonable searches and seizures and wrongful and illegal stops, detentions, and arrests,

separately and together, proximately caused injury to the Plaintiff in this case, inter alia, because

the Defendants had good reason to believe that their misconduct would not be revealed or

reported by fellow officers or their supervisors, that these denials would go unchallenged by

these supervisors and fellow officers, from the Police Chief, Fire and Police Commission, on

down, and that they were effectively immune from disciplinary action, thereby protecting them

from the consequences of their unconstitutional conduct. But for the belief that they would be

protected, both by fellow officers and by the Milwaukee Police Department, from serious career,

criminal, and civil consequences, the Defendants would not have engaged in the conduct that

resulted in the injuries to Plaintiff.

          171.   Said interrelated policies, practices, and customs, as set forth above, both

individually and together, were maintained and implemented with deliberate indifference, and

encouraged the Defendants to commit the aforesaid acts against Plaintiff and therefore acted as a

moving force and were, separately and together, direct and proximate causes of said

constitutional violations, and injuries to Plaintiff.

          172.   As a result of this misconduct, Plaintiff suffered the damages set forth above.

                                     Count IV – Indemnification

          173.   Plaintiff repeats and re-alleges the foregoing paragraphs as if fully set forth

herein.

          174.   Wisconsin law, Wis. Stat. § 895.46, requires public entities to pay any tort

judgment for damages for which employees are liable for acts within the scope of their



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employment.

        175.    At all times relevant to this action, the Defendants committed the acts alleged

above in the scope of their employment with the City of Milwaukee.

        WHEREFORE, Plaintiff asks that this Court enter judgment in their favor and against

Defendants Flynn, Hudson, Mucha, Vagnini, Knight, Kopesky, Kozelek, Bartol, and Seitz

awarding compensatory damages, attorneys’ fees, and costs against each Defendant, and punitive

damages against each of the individual Defendants, as well as any other relief this Court deems

appropriate.



                                           JURY DEMAND

        Plaintiff hereby demands a trial by jury pursuant to Federal Rule of Civil Procedure 38(b)

on all issues so triable.

        Dated: August 23, 2017                       Respectfully submitted,



                                                     s/ Robin Shellow
                                                     Robin Shellow, #1006052
                                                     THE SHELLOW GROUP
                                                     324 West Vine Street
                                                     Milwaukee, WI 53212
                                                     (414) 263-4488
                                                     tsg@theshellowgroup.com
                                                     Attorneys for Plaintiff

                                                     s/ Kyle Borkenhagen
                                                     Kyle Borkenhagen, #1084544
                                                     Rohde Dales LLP
                                                     607 North 8th Street, Suite 700
                                                     Sheboygan, WI 53081
                                                     Telephone: (920) 458-5501
                                                     kborkenhagen@rohdedales.com
                                                     Attorney for Plaintiff



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